          Case 1:16-cr-02079-SAB            ECF No. 89        filed 12/07/16      PageID.223 Page 1 of 2
O PS 8
(3/15)
                                                                                                        FILED IN THE

                              UNITED STATES DISTRICT COURT                                          U.S. DISTRICT COURT
                                                                                              EASTERN DISTRICT OF WASHINGTON



                                                             for                               Dec 07, 2016
                                                                                                   SEAN F. MCAVOY, CLERK
                                            Eastern District of Washington

U.S.A. vs.                      Daniel Woolem                           Docket No.          0980 1:16CR02079-SAB-1

                                 Petition for Action on Conditions of Pretrial Release

        COMES NOW Linda J. Leavitt, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Daniel Woolem, who was placed under pretrial release supervision by the Honorable Chief U.S. District Court
Judge Thomas O. Rice via video conference in the court at Yakima, Washington, on the 28th day of October 2016 under the
following condition:

Condition #18:
The Defendant shall participate in a program of electronically monitored home confinement. The Defendant shall wear,
at all times, an electronic monitoring device under the supervision of U.S. Probation. In the event the Defendant does not
respond to electronic monitoring or cannot be found, the U.S. Probation Office shall forthwith notify the United States
Marshals’ Service, who shall immediately find, arrest and detain the Defendant. The Defendant shall pay all or part of
the cost of the program based upon ability to pay as determined by the U.S. Probation Office.

Condition #19:
Home detention: Defendant shall be restricted to his residence at all times except for: attorney visits; court appearances;
case-related matters; court-ordered obligations; or other activities as pre-approved by the Pretrial Services Office or
supervising officer, including but not limited to employment, religious services, medical necessities, substance abuse
testing or treatment, mental health treatment, and other necessities.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: Deviating from the requirements of his location monitoring program and home detention, by leaving his home
on November 28, 2016, without permission from the supervising United State Probation officer.

                      PRAYING THAT THE COURT WILL TAKE NO ACTION AT THIS TIME
                                                                          I declare under the penalty of perjury
                                                                          that the foregoing is true and correct.
                                                                          Executed on:       December 7, 2016
                                                                   by     s/Linda Leavitt
                                                                          Linda Leavitt
                                                                          U.S. Pretrial Services Officer
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THE COURT ORDERS
[ X ] No Action
[ ] The Issuance of a Warrant
[ ] The Issuance of a Summons
[ ] The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
[ ] Defendant to appear before the Judge assigned to the
case.
[ ] Defendant to appear before the Magistrate Judge.
[ ] Other
                                                              Signature of Judicial Officer
                                                              12/7/2016


                                                              Date
